
PER CURIAM:
This claim was submitted for a decision based upon the allegations in the Notice of Claim *133and the respondent’s Answer.
The claimant seeks payment of $400.00 for burial services provided to an individual who died on October 6, 1995. The respondent administers a burial services program which pays a portion of the funeral expenses for qualified individuals. The invoice for the services was not processed for payment in the proper fiscal year; therefore, the claimant has not been paid. In its Answer, the respondent admits the validity and amount of the claim, and states that there were sufficient funds expired in the appropriate fiscal year with which the invoice could have been paid.
In view of the foregoing, the Court makes an award in the amount of $400.00.
Award of $400.00.
